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           EXHIBIT A
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                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR PRESIDENT,        )    CIVIL ACTION No. 2-20-cv-966
INC.; GLENN THOMPSON; MIKE KELLY;     )
JOHN JOYCE; GUY RESCHENTHALER;        )
REPUBLICAN NATIONAL COMMITTEE;        )
MELANIE STRINGHILL PATTERSON; and     )
CLAYTON DAVID SHOW,                   )
                                      )
           Plaintiffs,                )
                                      )
     v.                               )
                                      )
KATHY BOOCKVAR, in her capacity as    )
Secretary of the Commonwealth of      )
Pennsylvania;et al.,                  )
                                      )
           Defendants.
                                      )


DECLARATION OF JACQUELYN BONOMO IN SUPPORT OF RULE 24 MOTION TO
 INTERVENE AS A DEFENDANT BY CITIZENS FOR PENNSYLVANIA’S FUTURE
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       I, Jacquelyn Bonomo, declare as follows

       1.       I am over the age of 18, make this declaration from my personal knowledge, and

if called upon to do so, could and would competently testify to the matters set forth herein in a

court of law.

       2.       I am the Chief Executive Officer and President of Citizens for Pennsylvania’s

Future (“PennFuture”). I have served in this capacity since October 27, 2017.

       3.       PennFuture is a 501(c)(3) non-profit, nonpartisan advocacy organization

incorporated and headquartered in Pennsylvania. Founded in 1998, PennFuture advocates for

just environmental policies that protect the air, land, and water in Pennsylvania by engaging in

legal, regulatory, and legislative advocacy; engaging with, educating, and elevating communities

on a variety of environmental issues; leading the transition to a clean energy economy; and

working to promote civic engagement among Pennsylvanians, including through programs

focused on increasing voter participation in traditionally underrepresented communities and

environmental justice communities.

       4.       PennFuture has offices and staff in Harrisburg, Philadelphia, Pittsburgh, Mount

Pocono, and Erie.

       5.       PennFuture is the state affiliate of the National Wildlife Federation and is a

strategic partner of the Conservation Voters of Pennsylvania. PennFuture is also the state lead for

the Choose Clean Water Coalition and the Coalition for the Delaware River Watershed, is a

member of the Growing Greener Coalition and the Clean Power Coalition, and works with the

Fair Districts PA Coalition and Pennsylvania Voice.

       6.       PennFuture serves more than 915 members, the majority of whom are located

throughout Pennsylvania, including many registered and eligible voters.



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        7.      A core part of PennFuture’s mission is to engage in efforts to empower

traditionally underrepresented communities to implement positive environmental change in the

state through the electoral process. PennFuture works to achieve this goal through voter

education, outreach, and registration programs focused on these communities, and advocacy

focused on easing the burdens on voting.

        8.      PennFuture’s voter education programs have included hosting candidate forums

and an earlier iteration of the program provided voter guides in coalition with other

organizations, including Pennsylvania Voice. PennFuture presently has a budget of $93,400 for

radio and digital advertisements targeted at Black and Latinx communities in Pennsylvania

encouraging people to register to vote. Earlier in 2020, PennFuture commissioned an art piece in

Allentown, Pennsylvania displaying a message in Spanish encouraging community members to

register to vote.

        9.      PennFuture currently employs two staff members who work on voter engagement

issues, one part-time. The organization presently pays four contract employees who are tasked

with reaching out to eligible Pennsylvanians reminding them to register to vote, with plans to

hire seven more phone bankers in the coming weeks. PennFuture’s plan for 2020, conceived of

in 2019, includes a budget for 45 full-time contract employees working on voter engagement and

voter registration throughout Pennsylvania leading up to the 2020 election. That scope of that

plan has been altered because of Covid-19, but it remains an important part of PennFuture’s

work.

        10.     Through these efforts, PennFuture’s plan for the 2020 General Election includes

an outreach goal of reaching at least 50,000 eligible Pennsylvania voters and registering at least

500 new voters prior to the election.



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       11.     In light of the current Covid-19 pandemic, PennFuture believes that voter

registration and increasing eligible Pennsylvanians’ access and ability to cast their ballots by

mail are the two most important issues in effectuating PennFurture’s goal of increasing voter

turnout among historically underrepresented communities in the 2020 General Election.

PennFuture believes the most important way to increase turnout this year is to encourage voters

to vote by mail. That is why a focus of PennFuture staff members, phone banker contractors,

and other volunteers’ outreach efforts will be to educate voters about requesting and casting their

ballot by mail in the 2020 General Election. In addition, PennFuture is presently fundraising to

increase its ability to effectively educate and advocate for Pennsylvanians to vote-by-mail within

the state in light of the pandemic and public health concerns raised by in-person voting.

       12.     PennFuture also engages in advocacy efforts to lessen the burdens on

Pennsylvania voters to cast their ballots. For example, in 2019, PennFuture successfully lobbied

the Pennsylvania General Assembly for the passage of Act 77, one of the pieces of legislation

challenged by the Plaintiffs here, which allowed for no-excuse vote-by-mail, significantly eased

the burden of casting a ballot by mail, and extended the deadline to register to vote from 30 days

to 15 days before the election. PennFuture’s advocacy efforts are not limited to the Pennsylvania

General Assembly, but also extend to local officials as well.

       13.     PennFuture has policy differences from state and local officials with respect to

how to make the November 2020 General Election safer for voters. As one example, PennFuture

believes that the state should adopt a universal vote-by-mail system in which all registered voters

would receive a mail ballot and has drafted an op-ed (to be published in the future) in support of

that system. To date, none of the Defendants in this action have indicated that they intend to

adopt a universal-vote-by-mail system.



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